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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FIRST UNITARIAN CHURCH OF LOS                       Case No. 13-cv-03287-JSW
                                         ANGELES, et al.,
                                   8                      Plaintiffs,                        ORDER REQUIRING JOINT CASE
                                   9                                                         STATUS CONFERENCE STATEMENT
                                                    v.
                                                                                             Re: Dkt. No. 150
                                  10
                                         NATIONAL SECURITY AGENCY, et al.,
                                  11                      Defendants.
                                  12
Northern District of California
 United States District Court




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                                                 On September 25, 2019, this Court entered a stipulated stay of this matter pending final
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                                       disposition of the appeal of Jewel v. National Security Agency, N.D. Cal. Case No. 08-cv-04373-
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                                       JSW (“Jewel”), which was then pending before the Ninth Circuit Court of Appeals as Case. No.
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                                       19-16066. On August 17, 2021, the Ninth Circuit affirmed this Court’s order granting summary
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                                       judgment and dismissal in Jewel. On October 26, 2021, the Ninth Circuit denied the petition for
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                                       panel rehearing and on November 3, 2021, the Ninth Circuit issued the mandate. On June 13,
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                                       2022, the Supreme Court of the United States denied the petition for writ of certiorari.
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                                                 Accordingly, as the disposition of the appeal in Jewel is final, the Court HEREBY ISSUES
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                                       this order requiring the parties to meet and confer and submit a joint status conference statement
                                  22
                                       by no later than July 22, 2022, indicating the parties’ positions on how they wish to proceed in this
                                  23
                                       matter.
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                                                 IT IS SO ORDERED.
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                                       Dated: July 8, 2022
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                                                                                         ______________________________________
                                  27                                                     JEFFREY S. WHITE
                                                                                         United States District Judge
                                  28
